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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
                             Criminal No. 19-193 (1) (PJS/LIB)


UNITED STATES OF AMERICA,                 )
                                          )
                        Plaintiff,        )
                                          )      STATEMENT OF FACTS IN
              v.                          )      SUPPORT OF EXCLUSION OF
                                          )      TIME UNDER SPEEDY TRIAL ACT
AMANDA MAY WALSH,                         )
                                          )
                        Defendant.        )




       Pursuant to 18 U.S.C. § 3161(h)(7)(A), I, Amanda May Walsh, the defendant in

this case, agree to the following statement of facts in support of my motion to exclude

time under the Speedy Trial Act:

       This Court issued its Arraignment Order on July 30, 2019, [ECF Doc. 32] which

assigned a motions hearing date before the Honorable Leo I. Brisbois on September 6,

2019, at 10:30 a.m., and a Jury Trial date to begin on September 30, 2019.

       My attorney has advised me that my codefendant has moved for a continuance of

the motions hearing date, and I wish to join in that motion. I understand that if the Court

grants the joint motion for continuance that my Jury Trial scheduled to begin on
                    '
September 30, 2019, may be continued .




                   •I
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         I have no objection to the Court rescheduling my Motions Hearing to September

13, 2019, at 10:30 a.m., and I also have no objection to the Court rescheduling my Jury

Trial, and I agree to an exclusion of the period of time from the date of the Court's order

on my motion through the date of a jury trial to be rescheduled from the Speedy Trial Act

computations in this case.




Dated:   2-7~/ J
                                                 Amanda May Walsh, Defendant



Dated: August 7,' 2019                           Isl John S~ Hughes
                                                 Minnesota Attorney #185966
                                                 Attorney for Defendant
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                                                 Minneapolis, MN 55401
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